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                 Exhibit A
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                              AFFIDAVIT
                                  of
                 TCPA PRIOR EXPRESS WRITTEN CONSENT
   I, Mitenkumar Bhadania, hereby certify as follows

       1. I am a Computer System Engineer at Fluent, LLC (”Fluent”) and am responsible for System
   Maintenance and Tech Support and together with other members of Fluent’s IT team, have designed
   and developed various modules of Fluent’s proprietary ad serving and lead generation system
   (“System”). In that capacity, I am familiar with the consumer facing websites operated by Fluent and its
   wholly owned subsidiaries, the System, Fluent’s database of System and user information (“Database”)
   and the structure and architecture of the Database. Fluent has filed an application with the U.S. Patent
   and Trademark office to patent the System.

      2. I hold a Bachelor’s Degree in Computer Engineering granted by Sardar Patel University in July,
   2011. I also hold a Master’s Degree in Computer Science granted by Southern Methodist University in
   May, 2015.

       3. Fluent maintains its Database in the ordinary course of its business operations as part of its
   business records. The Database is maintained on redundant servers located in Ashburn, Virginia under a
   Hosting Services Agreement with Rackspace US, Inc.

        4. When a person accesses one of the consumer facing websites operated by Fluent, the System
   assigns a unique visitor ID to that user in real time in the Database and then contemporaneously stores
   several pieces of information about the user including where the user came from before accessing the
   site, their IP address and their browser user agent. The System then displays a series of webpages based
   on the information gathered and information supplied by the user and records what was displayed and
   user inputs/responses in various tables to the Database. All of the pieces of data from a user’s visit are
   relationally associated with the visitor ID enabling me to recreate the user experience and their
   interaction with the Fluent site.

        5. I researched the user experience and information stored in the Database with respect to a
   visitor to a Fluent website who submitted the mobile number (937) 831-3250 and the name Brenda Bell
   (“User”) and provide this Affidavit in connection with a claim alleging, among other things, violation of
   the Telephone Consumer Protection Act (“TCPA”) resulting from telemarketing calls allegedly received
   by the User from Royal Sea Cruises, Inc. (“Royal Sea Cruises”), a Fluent client.

       6. The System recorded that the User visited http://www.consumerproductsusa.com (“Site”), a
   website owned and operated by RewardZone USA, LLC, a wholly owned Fluent subsidiary on September
   11, 2018 starting at 11:08:10 AM EST.
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      7. Upon landing on the Site, the User provided his/her identifying information and agreed to the
   Terms and Conditions of the Site by clicking the “Continue” button on the registration page. The System
   contemporaneously recorded the date and time when the User clicked Continue, which was at 11:09:03
   AM EST from the same IP address.

       8. Above the “Continue” button, the following sentence is reproduced: “I understand and agree to
   the Terms & Conditions which includes mandatory arbitration and Privacy Policy.” The regenerated
   HTML representation of the page showing the User’s agreement to the Terms and Conditions appears
   below.




       9. Below is the mandatory arbitration clause found in the Terms and Conditions hyperlinked in the
   sentence above the Continue button. The full Terms and Conditions are attached as Exhibit A.

          Mandatory Arbitration. These Terms contain a mandatory arbitration provision below that requires you to
          arbitrate individually any disputes or claims you may have with us and our affiliates, advertiser clients and
          marketing partners (collectively, “Marketing Partners”) who are third party beneficiaries of the mandatory
          arbitration provision. Thus, for example, if you provide prior express written consent to be contacted via
          telemarketing or SMS/text messaging, any claims you may have regarding any telemarketing or SMS/text
          messages you receive are subject to the mandatory arbitration provision. The mandatory arbitration
          provision also waives your right to participate in a class action or multi-party arbitration. You may opt-out of
          the mandatory arbitration provision by providing written notice of your decision within thirty (30) days of the
          date that you first register on an RZU Website.

       10. The following is a screenshot from a search of the database that contemporaneously records the
   date and time stamp of the moment the User clicked Continue on the Site.
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       11. In addition to the User’s name, the System recorded the user’s IP address and the User provided
   the following information on the Site:
       Telephone number:            937-831-3250
       Mailing address:             360 S. Limestone Street Apt 401
                                    Springfield, OH 45505
       IP Address:                  2600:1:9196:206d:bcc3:4b4a:42ab:a40d

       12. The regenerated HTML of the TCPA consent form displayed to the User after the User checked
   the box appears below.




       13. The following is the dynamically populated list of then current call center brand names displayed
   when the Marketing Partners hyperlink in the TCPA consent is clicked – Royal Sea Cruises appears under
   “R”:
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       14. The User clicked on the unchecked checkbox in the TCPA consent (which causes the box to be
   checked) and then clicked on the Continue button thereby providing the User’s prior express written
   consent, as that term is defined in the regulations promulgated under the TCPA (47 CFR §1200(f)(8)), to
   be called at the identified phone number by Royal Sea Cruises. The System contemporaneously
   recorded the date and time when the User clicked the Continue button which was September 11, 2018
   at 11:10:43 AM EST, approximately 2 minutes and 33 seconds after arriving at the Site.

       15. The following is a screenshot from a search of the database that contemporaneously records the
   date and time stamp of the moment the User landed on the Site:




       16. The following is a screenshot from a search of the database that contemporaneously records the
   date and time stamp of the moment the User checked the box and clicked Continue on the TCPA
   consent page:




        17. The System will not post a lead pertaining to a user to a client such as Royal Sea Cruises unless
   the user checked the checkbox and then clicked the Continue button. The System will not post a lead to
   a call center client if that user is on the relevant unsubscribe list. If a user does not check the box, but
   clicks the Continue button, the user will progress to the next page of the Site but the lead will not be
   posted to any call center clients and the user will not receive any telemarketing calls.
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          I declare under penalty of perjury that the foregoing is true and correct.




                                                                        Mitenkumar Bhadania




                   Daniel J. Barsky
         NOTARY ~UB~IC, STATE OF NEW YORK
             Reg1strat1on No. 02BA 6 l 19025
             Quali_fi~ in New y ork County
                                       :J
            Comm1ss1on Expires Nov. 22, 20 0
